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                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                    ______________DIVISION
                                   MIDLAND


                                                                        23-70156-smr
  In Re:                                            §          Case No. ________________________
                                                    §
                                                    §
                                                    §            Chapter ___________
                                                                             11
        Ironclad Pressure Control, LLC
          _____________________                     §




                              LIST OF CREDITORS VERIFICATION


  The above named debtor(s) hereby verifies that the attached list of creditors is true and correct to the
  best of their knowledge.


  Ironclad Pressure Control, LLC                                             1/5/2024
  _________________________________________________                          ______________________
  Debtor                                          Date




  ________________________________________________                           ______________________
  Joint Debtor                                                               Date
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  Hutch’s Oilﬁeld Supply & Equipment, LLC

  PO Box 61050

  Midland, TX 79711
